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10
                                   UNITED STATES DISTRICT COURT
11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
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13
14     SAN FRANCISCO BAY CONSERVATION, AND
       DEVELOPMENT COMMISSION,
15                                                               Case No. 3:16-cv-05420-RS-JCS
                               Plaintiff,
16
                        and                                      FEDERAL DEFENDANTS’ RESPONSE TO
17                                                               THE WESTERN STATES PETROLEUM
       SAN FRANCISCO BAYKEEPER,                                  ASSOCIATION’S MOTION FOR LEAVE
18                                                               TO FILE PROPOSED AMICUS CURIAE
                                                                 BRIEF
19                             Plaintiff-Intervenor,
                        v.
20
21     U.S. ARMY CORPS OF ENGINEERS, et al.

22                             Federal Defendants.

23
24          Pursuant to Civil L.R. 7-3(b), Defendants United States Army Corps of Engineers; Lieutenant

25   General Todd T. Semonite, in his official capacity as Chief Engineer and Commanding General of the

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     FED. DEFS.’ RESP. TO WSPA MOT. FOR LEAVE TO FILE AMICUS CURIAE BR.              3:16-CV-05420-RS-JCS
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     United States Army Corps of Engineers; Lieutenant Colonel John D. Cunningham, 1 in his official
 2
     capacity as District Engineer of the San Francisco District of the United States Army Corps of
 3   Engineers; and Rickey Dale James, in his official capacity as Assistant Secretary of the Army for Civil
 4   Works (collectively, the “Corps”) provide their response to the Motion by Western States Petroleum
 5   Association (“WSPA”) for Leave to File Proposed Amicus Curiae Brief (Dkt. No. 97-1) (“Mot.”). 2
 6          Courts reviewing an agency decision are limited to the administrative record. Fla. Power &
 7   Light Co. v. Lorion, 470 U.S. 729, 743-44 (1985); Nat’l Audubon Soc’y v. U.S. Forest Serv., 46 F.3d
 8   1437, 1447 (9th Cir. 1993); see also 5 U.S.C. § 706 (courts “shall review the whole record or those parts
 9   of it cited by a party . . .”). When there is a contemporaneous explanation of the agency decision, the
10   validity of that action must “stand or fall on the propriety of that finding, judged, of course, by the
11   appropriate standard of review,” and thus “the focal point for judicial review should be the
12   administrative record already in existence, not some new record made initially in the reviewing court.”
13   Camp v. Pitts, 411 U.S. 138, 142-43 (1973) (per curiam). While amicus curiae participation can be

14   allowed where the amicus has “unique information or perspective that can help the court beyond the

15   help that the lawyers for the parties are able to provide,” Cmty. Ass’n for Restoration of Env’t v.

16   DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D. Wash. 1999), it does not allow the Court to

17   consider information outside the record before it or extra-record evidence, absent one of the four

18   “narrow exceptions” in Lands Council v. Powell, 395 F.3d 1019, 1030 (9th Cir. 2005). See Fed. Defs.’

19   Opp’n to Pls.’ Joint Mot. to Suppl. the Administrative R. at 3 (Dkt. No. 93) (“Defs.’ Opp’n”).
            Here, WSPA requests the Court find that its “detailed amicus curiae brief provides substantive
20
     factual information on the economic impacts and navigational challenges resulting from [the Corps’
21
     Course of Action #2 (“COA #2”)].” WSPA Proposed Order at 1 (Dkt. No. 97-2); see also Mot. at 2
22
23
24   1
       Pursuant to Fed. R. Civ. P. 25(d), Lieutenant Colonel Travis J. Rayfield’s successor, Lieutenant
25   Colonel John D. Cunningham, in his official capacity as District Engineer of the San Francisco
     District of the United States Army Corps of Engineers, is automatically substituted as a defendant in
26   this case.
     2
       There is no inherent right to file an amicus curiae brief with the Court. It is left entirely to the
27   discretion of the Court. “The term ‘amicus curiae’ means friend of the court, not friend of a party.”
28   Long v. Coast Resorts, Inc., 49 F. Supp. 2d 1177, 1178 (D. Nev. 1999) (quoting Ryan v. Commodity
     Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)).

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     FED. DEFS.’ RESP. TO WSPA MOT. FOR LEAVE TO FILE AMICUS CURIAE BR.                   3:16-CV-05420-RS-JCS
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     (noting that WSPA members offer “additional unique perspective on the evidence that is already in the
 2
     record.”). However, WSPA does not attach documents and instead asks the Court to consider its various
 3   unsupported factual allegations about economic impact to area refineries:
 4
             -   Providing information about the total loss of depth in Richmond Outer Harbor during “no-
 5               dredging years” and speculation about the resulting impact on ship capacity (Mot. at 11);
 6           -   Allegations that deferred dredging leads to increased shoaling and narrowing of existing
 7               channels, causing vessel owners and operators to resort to light-loading (id. at 10-11);

 8           -   Claims about modifications to shipping operations and speculation about increased
                 percentages in ship deliveries to make up for lost shipping volumes caused by the alleged
 9               need to light-load vessels (id.);
10
             -   Broad reference to oil refiners’ concerns about adjustments resulting from physical changes
11               to shipping channels allegedly resulting from deferred dredging (id. at 8); and

12           -   Reporting on the depths of Pinole Shoal Channel in 2018 and 2019 (id. at 10).
13   These factual assertions by WSPA do not “supplement the parties’ arguments,” High Sierra Hikers

14   Ass’n v. U.S. Dep’t of Interior, No. C 09-04621 RS, 2012 WL 1933744, at *2 n.1 (N.D. Cal. May 29,

15   2012), vacated in part, No. C 09-04621 RS, 2012 WL 3067896 (N.D. Cal. July 27, 2012), but instead

16   represent an attempt to inject unsupported evidence into the record that postdates the final agency action

17   in this case. As previously noted by Magistrate Judge Spero, “the Corps “[can]not be faulted for failing

18   to consider documents that did not yet exist at the time of its decision.” Order Regarding Motion to

19   Complete and/or Supplement Administrative Record at 7 (Dkt. No. 76). WSPA’s representation that

20   this evidence is “already in the record,” Mot. at 2, is false. WSPA cannot evade the prohibition on
     consideration of extra-record evidence outside the Lands Council exceptions by imbedding the evidence
21
     in its brief as unsupported statements of fact. 3
22
             Consideration of information outside the administrative record is impermissible. For the Court
23
     to consider WSPA’s evidence, the only legitimate path would have been intervention by WSPA and
24
     participation in the motions practice regarding supplementation and consideration of extra-record
25
26
27   3
       The Local Rules also require factual contention to be supported by an affidavit. Civil L.R. 7-5(a)
28   (“Factual contentions made in support of or in opposition to any motion must be supported by an
     affidavit or declaration and by appropriate references to the record.”).

                                                         3
     FED. DEFS.’ RESP. TO WSPA MOT. FOR LEAVE TO FILE AMICUS CURIAE BR.                3:16-CV-05420-RS-JCS
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     evidence. That briefing began in March 2018 and concluded May 14, 2019 with Plaintiffs’ reply brief
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     (Dkt. No. 95). The hearing in this long-running matter, which was filed in September 2016, is set for
 3   July 18, 2019. Dkt. Nos. 1 & 87. Thus, even if WSPA had presented a motion for the Court to consider
 4   its extra-record evidence, it would have been untimely. WSPA offers no explanation for its considerable
 5   delay, and therefore its motion could also be denied as untimely. See Leigh v. Engle, 535 F. Supp. 418,
 6   420-22 (N.D. Ill. 1982) (denying the Secretary of Labor’s motion for leave to file an amicus curiae brief
 7   because, inter alia, “[i]n the more than three years of court proceedings, no interest in this litigation has
 8   ever been expressed by the Department . . .”). Moreover, such a procedural motion would have required
 9   participation as a party, not an amicus curiae. 4
10          In addition to its efforts to have this Court consider extra-record evidence, WSPA also seeks to
11   persuade this Court through legal argument. Its motion dedicates over a page length’s discussion of a
12   case from the Northern District of Ohio, engaging in legal analysis that goes beyond the arguments
13   made by Plaintiffs, and asks the Court to consider extra-record evidence in light of what WSPA deems

14   to be the basis of the Ohio court’s ruling. See Mot. at 3-5. An amicus curiae is “not a party to the

15   action, and to that end, an amicus may not assume the functions of a party, nor may it initiate, create,

16   extend, or enlarge the issues.” In re Dynamic Random Access Memory Antitrust Litig., No. M 02-1486

17   PJH, 2007 WL 2022026, at *1 (N.D. Cal. July 9, 2007). 5

18
     4
19     “An amicus curiae is not a party to litigation,” and courts “rarely give[ ] party prerogatives to those
     not formal parties”; “[a] petition to intervene and its express or tacit grant are prerequisites to this
20   treatment.” Miller-Wohl Co. v. Comm’r of Labor & Indus. State of Mont., 694 F.2d 203, 204 (9th
     Cir. 1982). Amici do not have the prerogatives of a proper party, such as filing a motion to consider
21
     extra-record evidence. WildEarth Guardians v. Jeffries, 370 F. Supp. 3d 1208, 1228 (D. Or. 2019)
22   (noting “obvious distinctions between parties and amici” (quoting United States v. Oregon, 745 F.2d
     550, 553 (9th Cir. 1984))), appeal dismissed, No. 19-35178, 2019 WL 2613191 (9th Cir. June 12,
23   2019) and appeal dismissed, Nos. 19-35179 and 19-35227, 2019 WL 2552333 (9th Cir. June 13,
     2019).
24   5
       An additional perspective that shows the impropriety of the instant motion is provided by the fact
25   that, should this Court grant the WSPA’s motion, any subsequent request for amici attorney fees
     would be unsupportable. The record contains adequate evidence of the economic impacts
26   considered by the Corps prior to adopting Course of Action #2. The evidence proffered in WSPA’s
     brief will not aid the Court in any way that the administrative record and the parties cannot. WSPA
27   would therefore not be entitled to amici attorney fees. See Miller-Wohl Co., 694 F.2d at 204-05 (“To
28   require the unbenefited plaintiff . . . to pay these amici attorney fees would conflict with the rationale
     of the [equitable] exception and is impermissible.”).

                                                         4
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            WSPA’s motion purports to offer a unique perspective to supplement the parties’ fully briefed
 2
     arguments, but it in fact advances its own, unique legal arguments and extra-record evidence in an
 3   attempt to act as a quasi-party. WSPA’s motion is neither timely nor useful, prerequisites for this
 4   Court’s consideration of friend of the court briefs. See Long, 49 F. Supp. 2d at 1178. Accordingly,
 5   there are sufficient grounds for the Court to deny the motion.
 6
 7   Respectfully submitted,
 8   Date: July 2, 2019
 9
10                                                  /s/ Leslie M. Hill
                                                    Leslie M. Hill
11                                                  Jacqueline M. Leonard
                                                    United States Department of Justice
12
                                                    Environment & Natural Resources Division
13
                                                    Attorneys for Federal Defendants
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     FED. DEFS.’ RESP. TO WSPA MOT. FOR LEAVE TO FILE AMICUS CURIAE BR.                3:16-CV-05420-RS-JCS
